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 5 Attorneys for Guo Ma

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 8                                     IN THE UNITED STATES DISTRICT COURT

 9                                         EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                                      CASE NO. 2:14 –CR-00330-GEB
12                                          Plaintiff,              STIPULATION REGARDING
                                                                    REMOVAL OF ANKLE
13   v.                                                             MONITORING DURING MRI;
                                                                    [PROPOSED] ORDER
14   GUO MA,
15                                          Defendant.
16

17             Defendant Guo Ma, by and through Linda M. Parisi, his counsel of record, and plaintiff, by

18 and through its counsel, Christiaan Highsmith, hereby stipulate as follows:

19             1. The parties agree and stipulate, and request that the Court find the following:

20             2. Defendant Guo Ma has an MRI appointment at Clearview MRI, 9200 SE 91st Ave, Suite

21 330, Happy Valley, Oregon 97086 on April 20, 2016 at 10:30 a.m.

22             3. Both parties stipulate to have Mr. Ma’s ankle monitor removed at the Pretrial Services

23 office (In Oregon) for the MRI on April 20, 2016, at 10:30 am and put back on at the Pretrial

24 Services office by 4:00 pm the same date following the MRI.

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          Stipulation and [Proposed] Order for Continuance of
29        Status Hearing and for Exclusion of Time

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                 Case 2:14-cr-00330-TLN Document 78 Filed 04/18/16 Page 2 of 3



 1          b.        The United States Attorney agrees to the removal of Mr. Ma’s ankle monitoring

 2 during MRI

 3          c.        All counsel agrees.

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 5 Dated: April 15, 2016

 6                                                               Respectfully Submitted,

 7                                                               /s/ Linda M. Parisi by e-mail authorization
                                                                 ______________________________________
 8
                                                                 Linda M. Parisi
 9                                                               Attorney for Guo Ma

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11 Dated: April 15, 2016                                         BENJAMIN B. WAGNER
                                                                 United States Attorney
12

13                                                               /s/ by e-mail authorization
                                                                 _______________________________________
14                                                               Christiaan Highsmith, Assistant U.S. Attorney
                                                                 Attorney for Plaintiff
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       Stipulation and [Proposed] Order for Continuance of
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 7                                  IN THE UNITED STATES DISTRICT COURT
 8                               FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA
                                                       )            Case No. 2:14 –CR-00330-GEB
11                                 Plaintiff,
                                                                    [PROPOSED] ORDER
12        v.
13
     GUO MA,
14                             Defendant.
15

16
               Based on the reasons set forth in the stipulation of the parties filed on April 15, 2016, and
17

18 good cause appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS

19 HEREBY ORDERED that Mr. Ma’s ankle monitor be removed at the Pretrial Services office (In
20 Oregon) for the MRI on April 20, 2016, at 10:30 am and put back on at the Pretrial Services office

21 by 4:00 pm the same date following the MRI.

22
     Dated: April 15, 2016
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       Stipulation and [Proposed] Order for Continuance of
29     Status Hearing and for Exclusion of Time

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